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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,                       §
                                                 §
       Plaintiff,                                §    CASE NO. 1:18-cv-00682~GMS
                                                 §
       v.                                        §
                                                 §
BJ'S WHOLESALE CLUB, INC.,                       §    JURY TRIAL DEMANDED
                                                 §
                                                 §
       Defendant.                                §



              JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC and Defendant BJ's Wholesale Club, Inc.,

pursuant to Fed. R. Civ. P. 41 (a), hereby move for an order dismissing all claims by Plaintiff

against Defendant with prejudice and counterclaims by Defendant against Plaintiff without

prejudice, with each party to bear its own costs, expenses and attorney's fees.

Dated: July 17, 2018                           Respectfully Submitted,

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                                   ATTORNEYS FOR PLAINTIFF
                                   SYMBOLOGY INNOVATIONS LLC



SO ORDERED, this
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                   (1, day of __
